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16                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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18                                         Case No. 3:24-md-3098-EMC
     IN RE: 23ANDME, INC. CUSTOMER DATA
19   SECURITY BREACH LITIGATION            COMBINED RESPONSE TO MOTIONS
                                           TO APPOINT INTERIM CO-LEAD
20                                         CLASS COUNSEL
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 1                                           INTRODUCTION

 2           Although several firms are applying for leadership in this action, none have committed as

 3 much time and resources as Michael R. Reese of Reese LLP, Laura Van Note of Cole & Van Note,

 4 and Ryan J. Clarkson of Clarkson Law Firm, P.C. (collectively, the “RVC Group”). The RVC

 5 Group served as organizing counsel in two early mediations, navigating a web of complexities in

 6 one of the most serious breaches of personal information in history, on an expedited timeframe

 7 given the defendant’s well-documented dire financial condition. Importantly, the RVC Group

 8 worked with counsel on both sides in an attempt to facilitate resolution, substantially bridging the

 9 gap between the parties during settlement discussions and obtaining necessary information and

10 documents to facilitate these discussions. The RVC Group has demonstrated a commitment to the

11 clients and proposed classes they represent through strong leadership, diligence, collaboration, and

12 a deep understanding of the issues. The RVC Group respectfully requests the Court appoint

13 Michael R. Reese, Laura Van Note, and Ryan J. Clarkson as co-lead interim class counsel.

14                                             ARGUMENT

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        I.      The RVC Group Has No Conflict With the Proposed Class
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             The RVC Group does not have any conflicts with the proposed class. See Fed. R. Civ. P.
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     23(g)(1)(B) (stating the court may consider counsel’s ability to fairly and adequately represent the
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     interests of the class); 23(g)(4) (requiring counsel to fairly and adequately represent the interests
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     of the class). This is an important consideration as the Court weighs competing applications. For
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     example, a disqualifying conflict might exist where class counsel has other clients harmed by the
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     defendant’s wrongdoing but for which they intend to pursue claims individually via arbitration.
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     See Lou v. Ma Laboratories, Inc., case no. 12-cv-05409, 2014 WL 68605 at *2 (N.D. Cal. Jan 8,
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     2014) (class counsel inadequate where they represented “different plaintiffs in different actions
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     proceeding at the same time with the same claims, same counsel, and same defendants” because
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     “defendants have an incentive to settle all claims at once, if it settles at all, thereby creating
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     opportunities for counsel to manipulate the allocation of settlement dollars.”) While some firms
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     IN RE: 23ANDME, INC. CUSTOMER DATA SECURITY BREACH LITIGATION NO. 3:24-MD-3098-EMC
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 1 may be in this position, the RVC Group is not. Ensuring there is no such conflict impacting

 2 settlement incentives is especially important here given the dire financial health of 23andMe. The

 3 lack of this or any other conflict weighs in further favor of the RVC Group’s leadership application.

 4 Id. (“A class in this case deserves to be championed by its counsel unencumbered by their duties

 5 to other clients.”)

 6      II.      The RVC Slate Is in the Best Position to Continue Leading This Case

 7            While the RVC Group recognizes that many well-qualified attorneys are seeking to be

 8 appointed Interim Class Counsel, as detailed in their Motion, the RVC Group is uniquely

 9 positioned to continue leading this case. This group has already dedicated substantial time and

10 resources to this case, and has moved the case forward effectively, even in the early stages and

11 before consolidation. The RVC Group has successfully obtained the necessary informal

12 confidential discovery from Defendant, to ensure that the parties’ mediation efforts are fruitful.

13 The RVC Group also collaborated with other counsel on both sides, in attempt to facilitate

14 resolution – a number of whom are seeking appointment – in an attempt to reach a uniform

15 outcome and brought the parties closer to a potential resolution.          In addition, while other

16 individuals who have sought leadership are well qualified, the RVC Group meets the Court’s

17 direction that the leadership should be a team of diverse attorneys. The RVC Group is diverse both

18 in background and in years of experience and has the bandwidth to devote the time and attention
19 needed to effectively lead this case that others may lack due to competing appointments. The RVC

20 Group also comprises three California-based attorneys, intimately familiar with the practices and

21 local rules in this District, having handled dozens of cases before this court. Finally, the RVC

22 Group represents all of the various interests of class members and various statutory damages

23 claims, including a California CCPA claim (which has been perfected and may be added to the

24 Consolidated Complaint at any time) and a GIPA claim for Illinois residents. The class would be

25 well served and well represented by the RVC Group.

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 1      III.      Other Qualified Individuals Should Be Appointed to the Plaintiffs’ Steering

 2                Committee

 3             The RVC Group welcomes the participation of other attorneys in the effective prosecution

 4 of this case. The formation of a Plaintiffs’ Steering Committee would allow lead counsel to

 5 distribute work among the various attorneys and harness the skills and knowledge of others. The

 6 RVC Group supports the Court appointing any of the following individuals to the Plaintiffs’

 7 Steering Committee: Maureen Brady, Anderson Berry, and Gayle Blatt. The RVC Group also

 8 supports the appointment of Carey Alexander as the State/Federal Liaison. The RVC Group has

 9 worked with each of these individuals in this case and/or as co-lead counsel in numerous other

10 cases and is confident in their abilities to contribute to the successful and efficient prosecution of

11 this case and work cooperatively together. The RVC Group is committed to serving the best

12 interest of the class with any other counsel appointed by the Court.

13                                             CONCLUSION

14             For the foregoing reasons, Plaintiffs Max Alperstein, Michael Blackwell, Tyrell Brown,

15 Dhaman Gill, Kerry Lamons, Katianne Navarro, Arya Shoaee and David Tulchinsky respectfully

16 request this Court enter an order appointing Michael R. Reese of Reese LLP, Laura Van Note of

17 Cole & Van Note, and Ryan J. Clarkson of Clarkson Law Firm, P.C. Interim Co-Lead Class

18 Counsel; appointing Maureen Brady, Anderson Berry, and Gayle Blatt to the Plaintiffs’ Steering
19 Committee; and appointing Carey Alexander as the State/Federal Liaison.

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21 Date: April 25, 2024                            Respectfully submitted,

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